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                                         1 JOHN P. REITMAN (State Bar No. 80579)
                                             jreitman@lgbfirm.com
                                         2 JACK A. REITMAN (State Bar No. 283746)
                                             jareitman@lgbfirm.com
                                         3 LANDAU GOTTFRIED & BERGER LLP
                                             1880 Century Park East, Suite 1101
                                         4 Los Angeles, California 90067
                                             Telephone: (310) 557-0050
                                         5 Facsimile: (310) 557-0056

                                         6 Attorneys for Brian Weiss,
                                             Court Appointed Receiver of Eagan Avenatti, LLP
                                         7

                                         8                       UNITED STATES DISTRICT COURT
                                         9                     CENTRAL DISTRICT OF CALIFORNIA
                                        10

                                        11   ALPHA GRP, INC. d/b/a RED BULL             Case No.: 2:18-CV-02133-MWF-
& B ERGER LLP




                                        12
                                             GLOBAL RALLY CROSS, a Delaware             MRW
                                             Corporation,
           LOS ANGELES, CALIFORNIA
              ATTORNEYS AT LAW




                                        13                                              RECEIVER’S NOTICE OF
  GOTTFRIE D




                                        14                      Plaintiff,              ATTORNEYS’ LIEN
L ANDAU




                                        15   v.
                                        16
                                             SUBARU OF AMERICA, INC., a New
                                        17   Jersey Corporation,
                                        18
                                                                Defendant.
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                                         1 TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                                         2        PLEASE TAKE NOTICE that Brian Weiss, Federal Court Appointed
                                         3 Receiver Eagan Avenatti, LLP (“EA”), by virtue of a written fee agreement with

                                         4 Plaintiff, claims a lien ahead of all other on any recovery Plaintiff may receive as a

                                         5 result of Plaintiff’s claims in this case. See Levin v. Golf Ins. Group, 69 Cal. App.

                                         6 4th 1282, 1287-88 (1999); Del Conte Masonry Co. v. Lewis,16 Cal.App.3d 678, 680

                                         7 (1971). The purpose of this lien is to secure payment for legal services rendered and

                                         8 costs and expenses advanced on Plaintiff’s behalf.

                                         9        PLEASE TAKE FURTHER NOTICE that payment of any amount to
                                        10 Plaintiff in consideration of Plaintiff’s claims in this action without giving effect to

                                        11 or making provision for the lien of EA will create liability for intentional
& B ERGER LLP




                                        12 interference with EA’s economic and contractual rights. See Levin, 69 Cal. App. 4th
           LOS ANGELES, CALIFORNIA
              ATTORNEYS AT LAW




                                        13 at 1287-88.
  GOTTFRIE D




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                                        15 Dated: June 12, 2019                     Respectfully submitted,
L ANDAU




                                        16                                          LANDAU GOTTFRIED & BERGER LLP

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                                        18                                          By:       /s/ Jack A. Reitman
                                                                                                 Jack A. Reitman
                                        19                                          Attorneys for Brian Weiss, Court Appointed
                                                                                          Receiver of Eagan Avenatti, LLP
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